Case 8:20-cv-00502-JLS-KES Document 43 Filed 12/14/20 Page 1 of 3 Page ID #:652



   1
   2
   3
   4
   5
                                                               JS-6
   6
   7
   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10
  11 TOYO TIRE U.S.A. CORP., TOYO              Case No. 8:20-cv-00502-JLS-KES
     TIRE CORPORATION, AND NITTO
  12 TIRE U.S.A. INC.,                         HONORABLE JOSEPHINE L.
                                               STATON, COURTROOM 10 A
  13              Plaintiffs,
                                               JUDGMENT GRANTING
  14        vs.                                PERMANENT INJUNCTION (DOC.
                                               42)
  15 STEVEN MANDALA, d/b/a
     JSIMPORTCO, d/b/a TIREGRAFICX,
  16 d/b/a TIRE GRAFICX, d/b/a FORMULA
     MOTORSPORTS, FORMULA TIRE
  17 CORPORATION, INC. AND DOES 1
     through 10,
  18
                 Defendants.
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
Case 8:20-cv-00502-JLS-KES Document 43 Filed 12/14/20 Page 2 of 3 Page ID #:653



   1         Pursuant to the joint Stipulation of Plaintiffs Toyo Tire U.S.A. Corp., Toyo
   2 Tire Corporation and Nitto Tire U.S.A. Inc.’s (collectively “Toyo/Nitto”) and
   3 Defendants Steven Mandala and Formula Tire Corporation, Inc. (jointly
   4 “Defendants”), and based upon the stipulated facts and judgment set forth therein,
   5 the Court hereby ORDERS and ADJUDGES:
   6         Defendants Steven Mandala and Formula Tire Corporation, Inc., their
   7 affiliates, subsidiaries, officers, directors, employees, independent contractors, and
   8 attorneys, and all persons and/or entities acting for, with, by, through, or in concert
   9 with them or any of them are hereby PERMANENTLY ENJOINED from:
  10                (a)   Using any of Toyo/Nitto trademarks and/or any other
  11 designation that is a colorable imitation of and/or is confusingly similar to the
  12 Toyo/Nitto’s trademarks, in any medium (retail, wholesale, internet, physical or
  13 otherwise) in connection with any services, related services or related goods;
  14                (b)   Representing in any manner, or by any method whatsoever, that
  15 Defendants are in any way affiliated with Plaintiffs, or that the goods, services or
  16 other products or services provided by Defendants are sponsored, approved,
  17 authorized by, or originate from Plaintiffs, or otherwise take an action likely to
  18 cause confusion, mistake or deception as to the origin, approval, sponsorship or
  19 certification of such goods or services;
  20                (c)   Infringing, diluting and/or tarnishing the distinctive quality of
  21 any of Toyo/Nitto’s trademarks;
  22                (d)   Defendants shall remove all use of any of Toyo/Nitto’s
  23 trademarks from any and all websites, social media, advertising, marketing, or other
  24 materials relating to Defendants’ and Defendants shall not make, sell, advertise for
  25 sale, or market any item bearing any of Toyo/Nitto’s trademarks.
  26         The Court further ORDERS that:
  27         Defendants are to give notice of this permanent injunction by providing a
  28 copy hereof to their affiliates, subsidiaries, officers, directors, employees,
Case 8:20-cv-00502-JLS-KES Document 43 Filed 12/14/20 Page 3 of 3 Page ID #:654



   1 independent contractors, and attorneys, and all persons and/or entities acting for,
   2 with, by, through, or in concert with them or any of them, and Defendants shall
   3 provide a list including the name, contract information, and date notice was given
   4 within 3 days of the date of the injunction issues.
   5         The Court hereby retains jurisdiction over the matters set forth herein and the
   6 parties hereto to decide issues relating to this permanent injunction.
   7
   8 DATED: December 14, 2020
   9
  10                                         ________________________________
                                             Hon. Josephine L. Staton
  11                                         United States District Judge
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
